            Case 1:21-cr-00041-JL Document 106 Filed 09/23/21 Page 1 of 2




               United States District Court
       _________DISTRICT OF NEW HAMPSHIRE_________
                                  United States of America

                                                 v.

                                         Ian Freeman

                            CASE NUMBER: 1:21-cr-00041-JL-01

                    ASSENTED TO MOTION TO WITHDRAW
              MOTION TO MODIFY PRE-TRIAL RELEASE CONDITIONS

       Now Comes the Defendant, Ian Freeman, by and through counsel, and requests that

certain conditions of his pre-trial release be withdrawn.

       As grounds for and in support of this motion, it states as follows:

       1.      Ian Freeman requests his Motion to Modify Pre-Trial Release Conditions filed on

September 9, 2021.

       2.      Counsel has contacted the United States Assistant Attorney, Seth Aframe, Esq,

and the Government assents to this motion.

September 23, 2021
________________________________              _________________________________________
Date                                          Signature
                                                      Mark L. Sisti______________________
                                              Print Name
                                                      387 Dover Road_____________________
                                              Address
                                                       Chichester, NH 03258______________
                                              City                 State       Zip Code
                                                       (603) 224-4220_____________________
                                              Phone Number




                                                 1
          Case 1:21-cr-00041-JL Document 106 Filed 09/23/21 Page 2 of 2




                                     CERTIFICATION

       I hereby certify that a copy of this appearance was forwarded to Assistant United States
Attorneys John Kennedy, Esq. and Seth Aframe, Esq., electronically through EFC on September
23, 2021.

September 23, 2021
________________________________            __________________________________________
Date                                        Signature

                                            Mark L. Sisti______________________
                                            Print Name




                                               2
